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II. SUBSTANTIVE BASIS OF THE MOTION MERITS CONSIDERATION

Plaintiff's original motion was grounded in well-established constitutional and procedural
law, including:

   •   Kelly v. United States, 140 S. Ct. 1565 (2020) (abuse of public office for personal or
       political gain is impermissible);
   •   Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009) (appearance of bias
       warrants recusal or corrective action);
   •   Napue v. Illinois, 360 U.S. 264 (1959) (knowingly false or misleading government
       conduct violates due process);
   •   United States v. Gallop, 838 F.2d 105 (4th Cir. 1988) (reversal warranted where
       judicial irregularities impede appeal rights).

These legal authorities were not addressed in the Court’s summary denial. Plaintiff
respectfully asserts that the dismissal failed to engage with the substance of the motion,
and reconsideration is appropriate to correct a manifest error of fact and to prevent clear
injustice.

III. DIFFERENTIAL TREATMENT OF IDENTICAL FILINGS

Plaintiff also notes that substantially identical motions were submitted to Hon. Judges
Jesse M. Furman in related matters and were not dismissed as frivolous—to date nor were
extraneous case citations introduced. This discrepancy further supports the need for
careful review and a consistent, fact-based approach.

IV. LEGAL STANDARD

Under Local Civil Rule 6.3, a motion for reconsideration may be granted where the court
has overlooked controlling decisions or material facts. Similarly, Rule 60(b)(1) permits
relief from a ruling for “mistake, inadvertence, surprise, or excusable neglect,” and Rule
60(b)(6) allows relief for “any other reason that justifies relief.”

Here, both the mis-citation of the docket number and the omission of substantive
discussion of the cited constitutional case law meet the threshold for reconsideration.

V. RELIEF REQUESTED

For the reasons above, Plaintiff respectfully requests that this Court:
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   1. Grant reconsideration of the May 5, 2025 Memorandum Endorsement (Dkt. 104);
   2. Strike or modify the “vexatious and frivolous” designation as applied to Plaintiff’s
      motion;
   3. Review and consider on the merits the emergency stay request as filed under the
      correct case number;
   4. Grant any further relief the Court deems just and appropriate.

Dated: May 5, 2025




Certificate of Service
I hereby certify that on [Date], a copy of the foregoing Motion to [Specify Relief Sought] was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. Parties may access this
filing through the Court’s system.

[Attorney's Name]
